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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

 In Re:                                       :      Chapter 11
                                              :
 Woodbridge Group of Companies, LLC           :      Case No.: 17-12560 (JKS)
                                              :
                    Debtor.                   :
                                              :
 Michael Goldberg, as Liquidating Trustee of :
 the Woodbridge Liquidation Trust,            :      MEDIATOR’S CERTIFICATE OF
 successor in interest to the estates of      :      COMPLETION
 Woodbridge Group of Companies, et al.,       :
                                              :
                    Plaintiff,                :
 v.                                           :      Adv. Proc. No.: 19-50951 (JKS)
                                              :
 Ivy League College Planning Strategies, Inc. :
 and Michael Rappa,                           :
                                              :
                   Defendant.                 :
                                              :

        In accordance with this Court's Order Assigning Adversary Proceeding to Mediation, the
undersigned mediator reports that the mediation was completed on July 7, 2021 and resolved in
the following manner (complete applicable provisions).

          (a)   The following individuals were present:

                (1)    Parties (name and capacity) -

                       Michael Rappa, Defendant

                (2)    Counsel (name and party representing) -

                       Jason Pomerantz, Counsel to Michael Goldberg
                       Jonathan Miller, Counsel to Defendant

          (b)   The following parties failed to appear and/or participate as ordered:


          (c)   The outcome of the mediation conference was:

            X     The matter has been completely resolved and counsel (or parties) have been
                  instructed to file an appropriate stipulation and proposed order within twenty (20)
                  days of the conference.



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       _____     The matter has been partially resolved and counsel (or parties) have been
                 instructed to file an appropriate stipulation and proposed order regarding those
                 claims or issues which have been resolved within twenty (20) days.

       ____      The following issues remain for this court to resolve:

       ____      The matter has not been resolved and should proceed to trial.

                 OTHER: This matter has settled prior to mediation.




Dated: August 2, 2021                          /s/ Judith K. Fitzgerald
                                             Judith K. Fitzgerald (PA I.D. No. 18110)
                                             Tucker Arensberg, P.C.
                                             1500 One PPG Place
                                             Pittsburgh, PA 15222
                                             (412) 594-1212




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